                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re: MARVIN REX RANKIN III 1      )
        SSN: xxx-xx-3901             )                    Case No.: 20-80495-CRJ-11
                                     )
              and                    )
                                     )
       MARY BETH                     )
       LEMMOND RANKIN                )
       SSN: xxx-xx-7950              )
                                     )
       Debtors.                      )                    CHAPTER 11
 ____________________________________)

                        DEBTORS’ MOTION TO COMPEL TURNOVER

         COME NOW Marvin Rex Rankin III and Mary Beth Lemmond Rankin, RWS Charter
 LLC, and Bayport Corporation, Ltd. (collectively, the “Debtors”), and show unto this Honorable
 Court as follows:

                                               Background

         1.      On February 8, 2020, and on February 13, 2020, the Debtors commenced with
 this Court three voluntary cases under Chapter 11 of Title 11, United States Code.

         2.      This Court has subject matter jurisdiction to consider and determine this motion
 for turnover (this “Motion”) pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to
 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The Debtors bring this Motion pursuant to Sections 542(e) and 543 of the
 Bankruptcy Code.

        4.       This Motion is a contested matter under Bankruptcy Rule 9014.




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       In addition to Marin Rex Rankin III and Mary Beth Lemmond Rankin., the Debtors include the following:
 RWS Charter LLC, Case No. 20-80470-CRJ11; and Bayport Corporation, Ltd., Case No. 20-80471-CRJ11




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                                          Pertinent Facts

        5.      As of the Chapter 11 filings, the Debtors had, and continue to have, a potential
 malpractice claim against George Wayne White, CPA and his accounting practice, GWW CPA
 LLC.

        6.      On July 26, 2019, special counsel for the Debtors sent a written demand for
 George Wayne White, CPA and GWW CPA LLC to immediately turn over documents and
 records concerning the Debtors’ tax liabilities and tax returns. A true copy of said demand is
 attached hereto as Exhibit “A.”

        7.      As of the filing of this Motion, George Wayne White, CPA and GWW CPA LLC
 have yet to turn over any documents and records to the Debtors.

                                           Relief Sought

        8.      Pursuant to pursuant to Sections 542(e) and 543 of the Bankruptcy Code, the
 Debtors seek turnover from George Wayne White, CPA and GWW CPA LLC of all documents
 and records relating to the tax liabilities and tax returns of the Debtors as more fully stated and
 specified in Exhibit “A.”

        9.      Pursuant to Bankruptcy Rule 2002, the Debtors propose to serve a copy of this
 Motion upon George Wayne White, CPA and upon GWW CPA LLC, both via its registered
 agent and at its primary business address, and on the Bankruptcy Administrator.

        10.     Pursuant to Bankruptcy Rule 2002, the Debtors propose that the Bankruptcy
 Court provide no less than 20 days’ notice by mail to persons described in the preceding
 paragraph of the time within which objections to the relief requested in this Motion must be filed
 and of the hearing on any such objections.

         WHEREFORE, premises considered, Marvin Rex Rankin III and Mary Beth Lemmond
 Rankin, RWS Charter LLC, and Bayport Corporation, Ltd. pray that this Court will enter an
 Order: requiring turnover from George Wayne White, CPA and GWW CPA LLC of all
 documents and records relating to the tax liabilities and tax returns of the Debtors; and granting
 such further relief as the Court deems just and proper.




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        Respectfully submitted this the 9th day of July, 2020.


                                              /s/ Tazewell T. Shepard
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys to Chapter 11 Debtors

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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this the 9th day of July, 2020 served the foregoing document
 upon all addressees on the Clerk’s Mailing Matrix, Richard M. Blythe, Office of the Bankruptcy
 Administrator, and all parties requesting notice, by electronic service through the Court’s
 CM/ECF system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.




                                          /s/ Tazewell T. Shepard
                                          Tazewell T. Shepard




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